      Case 1:21-cv-02265-APM          Document 364      Filed 01/23/25      Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

CONRAD SMITH, et al.         .            )
                                          )
                  Plaintiffs,             )
                                          )
v.                                        )              Civil Case No. 1:21-cv-02265-APM
                                          )
                                          )
DONALD J. TRUMP, et al                    )
                                          )
                  Defendants.             )
_________________________________________ )


                                   NOTICE OF WITHDRAWAL

       Consistent with Local Rule of Civil Procedure 83.6, David A. Warrington of Dhillon Law

Group, 2121 Eisenhower Avenue, Suite 608, Alexandria, VA 22314, hereby withdraws as

attorney of record for Defendant Donald J. Trump. Defendant Donald J. Trump will continue to

be represented in this matter by Jonathan Shaw.


       Dated: January 23, 2025                    Respectfully submitted,


                                                  /s/David A. Warrington
                                                  David A. Warrington
                                                  DHILLON LAW GROUP, INC.
                                                  2121 Eisenhower Avenue, Suite 608
                                                  Alexandria, Virginia 22314
                                                  Telephone: 703-574-1206
                                                  DWarrington@Dhillonlaw.com
      Case 1:21-cv-02265-APM          Document 364       Filed 01/23/25   Page 2 of 2




                                                    /s/ Jonathan Shaw
                                                    Jonathan Shaw
                                                    DHILLON LAW GROUP, INC.
                                                    2121 Eisenhower Avenue, Suite 608
                                                    Alexandria, VA 22314
                                                    Telephone: 240-383-8758
                                                    JShaw@Dhillonlaw.com




I hereby consent to the above withdrawal of attorney.

                      ____/s/Jonathan Shaw
                      Donald J. Trump
